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           EXHIBIT 6
8/1/23, 1:31 PM       Case    1:21-cv-03354-BAH
                      Kyle Cheney                             Document
                                  on Twitter: "We also know the arrearage was86-7        Filed
                                                                              still current as of 08/01/23      Pagediscussed
                                                                                                  May 19, when Giuliani 2 of 7 it in open court with J…

                                                             Tweet

                                                         Kyle Cheney @kyledcheney · 15h
           Home
                                                         A timeline:

           Explore                                       May 1: Rudy says he can’t afford to pay Trustpoint One, the vendor searching
                                                         his accounts in Ruby Freeman lawsuit. He has an arrearage of more than
                                                         $320,000.
           Notifications
                                                         May 26: Trump PAC pays Trustpoint $340,000.
           Messages
                                                         May 30: Rudy tells the court his arrearage has been “cured.”
           Lists

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                   Post                                        107                1,916                4,863                778.1K


                                                         Kyle Cheney
                                                         @kyledcheney

                                                We also know the arrearage was still current as of May 19, when Giuliani
                                                discussed it in open court with Judge Howell.




                                                   politico.com
                                                   Judge orders Rudy Giuliani to detail finances in election defamation suit
                                                   The order comes amid disputes about access to Giuliani’s evidence related to a
                                                   suit filed by 2020 election poll workers.


                                                10:31 PM · Jul 31 2023 · 44 5K Views
https://twitter.com/kyledcheney/status/1686203073918537733
8/1/23, 1:31 PM       Case    1:21-cv-03354-BAH
                      Kyle Cheney                             Document
                                  on Twitter: "We also know the arrearage was86-7        Filed
                                                                              still current as of 08/01/23      Pagediscussed
                                                                                                  May 19, when Giuliani 3 of 7 it in open court with J…
                                                10:31 PM · Jul 31, 2023 · 44.5K Views


                                                165 Retweets       737 Likes    9 Bookmarks

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           Explore
                                                          Post your reply!                                                              Reply
           Notifications

           Messages                                      Jeanne Brennan          @jeanneenabottle · 2h
                                                         @threadreaderapp please unroll

           Lists                                               1                                                            26


           Bookmarks                                     Thread Reader App     @threadreaderapp · 2h
                                                         @jeanneenabottle Hola, you can read it here:
                                                         threadreaderapp.com/thread/1686194… See you soon.
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                                                             threadreaderapp.com
                                                             Thread by @kyledcheney on Thread Reader App
                                                             @kyledcheney: A timeline: May 1: Rudy says he can’t afford to pay
                                                             Trustpoint One, the vendor searching his accounts in Ruby Freeman …

                                                                                                                            19


                                                         The Nightmare is Not Over @carpediembud · 14h
                                                         You don't "know" anything that Rudy said. You only know he said it.

                                                         Words are your business. Use the wisely.

                                                                                                      1                    178


                                                         Cindy L Arnevik @cabbageridge · 14h
                                                         Who else is Trustpoint One working for? Lots of payments to them

                                                                                                      4                    333


                                                         David Corbett @DavidCorbett_CA · 9h
                                                         To most laymen this is clearly obstruction of justice, witness tampering and
                                                         garden-variety corruption. To a prosecutor this is an extremely difficult case
                                                         to prove beyond a reasonable doubt.

                                                                                                                           108
https://twitter.com/kyledcheney/status/1686203073918537733
8/1/23, 1:31 PM       Case    1:21-cv-03354-BAH
                      Kyle Cheney                             Document
                                  on Twitter: "We also know the arrearage was86-7        Filed
                                                                              still current as of 08/01/23      Pagediscussed
                                                                                                  May 19, when Giuliani 4 of 7 it in open court with J…
                                                                                                                           108


                                                         circus no bread @BerkeleyEve · 14h
                                                         oh yah HE is the victim here
           Home
                                                                                                                           277

           Explore                                       JClaud @MezanmiO · 14h
                                                         Oh boy
           Notifications
                                                                                                                           173


           Messages                                      Rebecca Tiernan @Quesera2uRLN · 14h
                                                         oh Sweet Karma
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                                                               1                   1                    4                   224




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